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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


    STELLA PRONESTI,                     HONORABLE JEROME B. SIMANDLE

                   Plaintiff,
                                                  Civil Action
         v.                                  No. 15-6319 (JBS/KMW)

    NATIONAL CREDIT ADJUSTERS,
                                              MEMORANDUM OPINION
                   Defendant.


SIMANDLE, Chief Judge:

       In this action, Plaintiff Stella Pronesti (hereinafter,

“Plaintiff”) alleges that Defendant National Credit Adjusters

(hereinafter, “Defendant”) violated the Fair Debt Collection

Practices Act, 15 U.S.C. §§ 1692-1692p (hereinafter, the

“FDCPA”), in its efforts to collect an outstanding debt against

Plaintiff.    (See generally Compl. at ¶¶ 11-38.)        Following

Defendant’s failure to answer or otherwise respond to the

allegations of the Complaint, Plaintiff moves for default

judgment under Federal Rule of Civil Procedure 55(b)(2).           [See

Docket Item 5.]

       For the reasons that follow, Plaintiff’s unopposed motion

will be granted, 1 and the Court will enter a Default Judgment in




1 The deadline to respond to Plaintiff’s Complaint expired on
September 23, 2015, and the deadline to file opposition to the
pending motion lapsed on April 4, 2016. Plaintiff’s submissions
make plain, as explained below, that she served the Complaint
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favor of Plaintiff and against Defendant in the amount of

$2,320.   The Court finds as follows:

     1.    Factual and Procedural Background.        In her Complaint,

Plaintiff alleges that Defendant exceeded the bounds of the

FDCPA in its efforts “to collect an alleged consumer debt,” by

(1) placing “repeated harassing telephone calls to Plaintiff’s

cellular telephone,” (2) refusing to divulge the circumstances

underpinning the alleged debt, (3) threatening legal action

and/or imprisonment, (4) failing to send written notice

evidencing the underlying debt, and (5) relying upon otherwise

“unfair and unconscionable means to collect the alleged debt.”

(Compl. at ¶¶ 22-38.)     As a result of these allegations,

Plaintiff seeks $1,000 in statutory damages under the FDCPA, 28

U.S.C. § 1692k(a)(1), as well as reasonable attorneys’ fees and

court costs.    (Id. at ¶ 38.)

     2.    On September 3, 2015, Plaintiff personally served the

Complaint upon Defendant at its principal place of business in

Hutchinson, Kansas.     [See Docket Items 3.]      Following

Defendant’s failure to answer or otherwise respond to the

Complaint, the Court entered default, and Plaintiff’s motion for

default judgment followed.      [See Docket Item 5.]      In its motion,

Plaintiff takes the position that the unchallenged facts of the



and pending motion upon Defendant.        [See, e.g., Docket Items 3 &
5-5.]
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Complaint demonstrate her entitlement to entry of judgment

against Defendant in the amount of statutory damages, plus

reasonable attorneys’ fees and costs, because her allegations

“easily” reflect that Defendant’s collections-related conduct

violated numerous sections of the FDCPA.         (See Pl.’s Br. at 4-

9.)

      3.   Standard of Review.      Federal Rule of Civil Procedure

55(b)(2) authorizes courts to enter a default judgment against a

properly served defendant who fails to a file a timely

responsive pleading.     See FED. R. CIV. P. 55(b)(2); see also

Chanel, Inc. v. Matos, ___ F. Supp. 3d ____, No. 14-3509, 2015

WL 4773072, at *2 (D.N.J. Aug. 13, 2015) (citing Chanel v.

Gordashevsky, 558 F. Supp. 2d 532, 535 (D.N.J. 2008) (citing

Anchorage Assoc. v. Virgin Is. Bd. of Tax Rev., 922 F.2d 168,

177 n.9 (3d Cir. 1990))).      Nevertheless, the decision of whether

to enter a default judgment rests within the sound “discretion

of the district court,” Hritz v. Woma Corp., 732 F.2d 1178, 1180

(3d Cir. 1984), and the Court of Appeals for the Third Circuit

has “repeatedly state[d] [its] preference that cases be disposed

of on the merits whenever practicable.”        Id. at 1181.

      4.   As a result, prior to entering a judgment of default,

a court must determine: (1) whether the plaintiff produced

sufficient proof of valid service and evidence of jurisdiction,

(2) whether the unchallenged facts present a legitimate cause of

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action, and (3) whether the circumstances otherwise render the

entry of default judgment “proper.”        Teamsters Health & Welfare

Fund of Phila. & Vicinity v. Dubin Paper Co., No. 11–7137, 2012

WL 3018062, at *2 (D.N.J. July 24, 2012) (internal citations

omitted).    In so considering, a court must accept as true every

“well-pled” factual allegation of the complaint.          Comdyne I.

Inc. v. Corbin, 908 F.2d 1142, 1149 (3d Cir. 1990).          No

presumption of truth, however, applies to the plaintiff’s legal

conclusions or factual assertions concerning damages.           See id.;

see also Chanel, Inc., ___ F. Supp. 3d ____, 2015 WL 4772072, at

*2 (citations omitted).

     5.     Subject Matter Jurisdiction.      This Court has federal

question jurisdiction over the subject matter of this FDCPA suit

pursuant to 28 U.S.C. § 1331.

     6.     Evidence of Personal Jurisdiction and Proof of

Service.    As to the first inquiry, the Court must consider

whether Plaintiff produced adequate evidence of this Court’s

personal jurisdiction over Defendant, 2 an entity with a principal




2 Based upon Plaintiff’s certificate of service, the Court finds
sufficient proof that Plaintiff personally served Defendant
(through an out-of-state process server) at its principal place
of business in Hutchinson, Kansas. [See Docket Item 3.] The
certification of service appended to the pending motion equally
reflects that Plaintiff served Defendant with a copy of her
default judgment submission. [See Docket Item 5-5.]
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place of business in Hutchinson, Kansas. 3       Because the record

fails to disclose any basis to exercise general jurisdiction

over Defendant, 4 the Court must consider whether this FDCPA suit

“‘arise[s] out of or relate[s] to the defendant’s [specific]

contacts with the forum.’”      Otsuka Pharm. Co. v. Mylan Inc., 106

F. Supp. 3d 456, 463 (D.N.J. 2015) (quoting Daimler AG v.

Bauman, ___ U.S. ____, 134 S.Ct. 746, 754 (2014) (quoting

Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408,

414 n.8 (1984))); see also Gen. Elec. Co. v. Deutz AG, 270 F.3d

144, 150 (3d Cir. 2001) (quoting Burger King Corp. v. Rudzewicz,

471 U.S. 462, 472 (1985)).      Application of these principles

here, though, requires no complex inquiry, because the

allegations of the Complaint reflect that Defendant directed

“repeated” communications toward this forum, and explains that

these intentional communications form the fabric of her

underlying suit.     (See generally Compl. at ¶¶ 11-38.)        In other

words, the undisputed facts of this action readily support the




3 The Complaint identifies Defendant as a “a corporation with its
principal mailing address located at 327 West 4th Street, P.O.
Box 3023, Hutchinson, Kansas 67504.” (Compl. at ¶ 7.)
4 As this Court explained in Otsuka, the Supreme Court’s decision

in Daimler determined that a “defendant’s ‘place of
incorporation and principal place of business’” provide “the
paradigm, and seemingly exclusive, bases” for exercise general
jurisdiction over a corporate defendant. Otsuka, 106 F. Supp.
3d at 465. In this case, Plaintiff represents, on the face of
her Complaint, that Kansas serves these purposes for Defendant,
not New Jersey. (See Compl. at ¶ 7.)
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exercise of specific jurisdiction over Defendant.          See Grand

Entm’t Grp., Ltd. v. Star Media Sales, Inc., 988 F.2d 476, 482-

83 (3d Cir. 1999) (finding the exercise of personal jurisdiction

appropriate in connection with the entry of a default judgment,

where the default judgment defendants “deliberately and

personally” directed “at least twelve” relevant telephone and

mail communications toward the forum); see also City Select Auto

Sales, Inc. v. David/Radall Assocs., Inc., No. 11-2658, 2015 WL

4507995, at *2 (D.N.J. July 23, 2015) (following Grand Entm’t

Grp., Ltd., and finding specific jurisdiction on account of

facsimile transmissions directed at this forum).

     7.    Legitimate Cause of Action.       With respect to the

second inquiry, the Court must consider whether the undisputed

facts of Plaintiff’s Complaint allege legitimate claims for

violations of the FDCPA.      On this issue too, the Court finds the

inquiry relatively straightforward, because any one of

Plaintiff’s claims, standing alone, states a valid cause of

action under the FDCPA. 5     (See generally Compl. at ¶¶ 23-38.)

Indeed, the repeated harassing telephone calls (littered with

profanities), threats of imprisonment and/or arrest, and the


5 Even more, because Plaintiff seeks statutory damages only for a
single violation, see 15 U.S.C. § 1692k(a)(2)(A) (setting forth
the statutory damage award of $1,000 per violation), rather than
for each of her eight independent counts, the Court need only
find sufficient allegations of a single violation. (See Compl.
at ¶¶ 23-38; Pl.’s Br. at 8.)
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failure to send any written notice – each of which Plaintiff

alleges here – all potentially amount to independent violations

of the strict-liability scheme embodied under the FDCPA.           See,

e.g., 15 U.S.C. §§ 1692d(2), (5) (explaining that a debt

collector may not use obscene or profane language or repeatedly

or continuously cause a telephone to ring), §§ 1692e(4), (10)

(explaining that a debt collector may not imply or represent

that nonpayment will result in imprisonment or make other false

representations or implications), § 1692f (explaining that a

debt collection may not use, overall “fair or unconscionable

means”), and § 1692g (providing that a debt collector must send

the consumer a written notice validating the claimed debt, by

reference to specific underlying information); see also Allen ex

rel. Martin v. LaSalle Bank, N.A., 629 F.3d 364, 368 & n.7

(citations omitted) (3d Cir. 2011) (explaining the “generally

accepted” notion that the FDCPA constitutes a “strict liability

statute to the extent it imposes liability without proof of an

intentional violation”).      In view of these circumstances, the

Court concludes that Plaintiff has alleged at least one

legitimate claim under the FDCPA.

     8.    Appropriateness of Default Judgment.         Turning then to

the final inquiry, whether the entry of default judgment would

be proper, the Court must consider “‘(1) whether the party

subject to default has a meritorious defense, (2) the prejudice

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suffered by the party seeking default, and (3) the culpability

of the party subject to default.’”        Chanel, Inc., ___ F. Supp.

3d ____, 2015 WL 4773072, at *5 (quoting Doug Brady, Inc. v.

N.J. Bldg. Laborers Statewide Funds, 250 F.R.D. 171, 177 (D.N.J.

2008)).   Defendant has, in this instance, failed to proffer any

defense, meritorious or otherwise, to Plaintiff’s claims, and

the Complaint itself reflects no fatal deficiency.          See Surdi v.

Prudential Ins. Co. of Am., No. 08–225, 2008 WL 4280081, at *2

(D.N.J. Sept. 8, 2008) (“The facts as alleged in the Complaint

provide no indication of a meritorious defense.”).          Moreover,

because Plaintiff has no other means of seeking damages for the

statutory harms caused by Defendant, 6 Plaintiff would be

prejudiced and unable to pursue this action in the absence of a

default judgment.     See Coach, Inc. v. Ocean Point Gifts, No. 09-

4215, 2010 WL 2521444, at *5 (D.N.J. June 14, 2010) (finding

that the defendant's failure to answer complaint prevented the

plaintiff “from prosecuting their case, engaging in discovery,

and seeking relief in the normal fashion”); Gowan v. Cont’l

Airlines, Inc., No. 10–1858, 2012 WL 2838924, at *2 (D.N.J. July

9, 2012) (noting that the inability to “vindicate rights” absent

a default judgment constitutes prejudice).         Lastly, because

Defendant failed to participate in this litigation despite


6 Plaintiff does not seek an award for any “actual damage” as
defined under the FDCPA. 15 U.S.C. § 1692k(a)(1).
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effective service, also including recent service of this motion,

the Court can find no cause for Defendant’s default other than

culpable conduct.     See Lee, 2014 WL 7339195, at *3 (finding the

defendant’s failure to respond despite awareness of the

litigation “due to culpable conduct”).        For all of these

reasons, the Court finds the entry of default judgment

appropriate, see Buskirk v. Premium Recovery Grp., Inc., No. 15-

3025, 2016 WL 796889, at *2 (D.N.J. Feb. 29, 2016) (finding the

entry of default judgment in an FDCPA action appropriate), and

turns to the issue of damages.

     9.    Statutory Damage Award.       The FDCPA provides, in

relevant part, that the Court may award statutory damages in an

amount “not exceeding $1,000.”       15 U.S.C. § 1692k(a)(2)(A).       The

decision of whether to award “‘the full amount’” of statutory

damages, however, rests within the discretion of the Court.

Buskirk, 2016 WL 796889, at *3 (quoting Manopla v. Bryant, Hodge

& Assocs., LLC, No. 13-338, 2014 WL 793555, at *6 (D.N.J. Feb.

26, 2014)).    In light of the multiple violations at issue here,

and the prospect of a far greater award in the event this action

proceeded on the merits, 7 the Court finds a statutory award in

the amount of $1,000 reasonable.         See Buskirk, 2016 WL 796889,


7 Indeed, in the event Plaintiff prevailed on the merits, she may
have been entitled to a statutory award of as much as $8,000
(or, $1,000 for each of her eight counts). See 15 U.S.C. §
1692k(a)(2)(A).
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at *3 (granting the same statutory award); Meth v. ARM WNY, LLC,

No. 14-1613, 2015 WL 1021287, at *2 (D.N.J. Mar. 9, 2015)

(same).

      10.   Reasonable Attorneys’ Fees and Costs of Suit. Finally,

the Court turns to Plaintiff’s request for $860 in attorneys’

fees and $460 in costs.      (See Pl.’s Br. at 9; Ginsburg Dec. at

¶¶ 1-8; Ex. A to Ginsburg Dec.)        As in the statutory damage

context, the FDCPA permits an award of “costs of the action” and

“reasonable attorney’s fees... in the case of any successful

action to enforce” the FDCPA.       15 U.S.C. § 1692k(a)(3).       In

awarding fees under this rubric, the “court should determine

what constitutes a reasonable fee in accordance with the

substantial Supreme Court precedent pertaining to the

calculation of reasonable attorney’s fees.”          Graziano v.

Harrison, 950 F.2d 107, 114 (3d Cir. 1991).          Here, the

declaration of Amy Lynn Bennecoff Ginsburg, Esq. (and its

attached exhibit) provides great detail concerning the hourly

rates and the services performed.         (See generally Ginsburg Dec.

at ¶¶ 1-8; Ex. A to Ginsburg Dec.)        The reduced hourly rates

sought are reasonable, consisting of $250 for senior associate

Amy Lynn Bennecoff Ginsburg, $200 for associate Rachel Stevens,

$350 for partner Craig Thor Kimmel, and $125 for paralegal

Christine Vargas.     (See Ginsburg Dec. at ¶ 5 n.1.)        Indeed, a

line-by-line review of the billing statement reflects that

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counsel for Plaintiff spent 4.6 hours on research, client

contact, pleadings drafting, and filing the present motion for

default judgment, but seeks reimbursement for the “reduced file

time” of only 4.1 hours, using billing discretion.           (See Ex. A

to Ginsburg Dec.)     Counsel for Plaintiff accrued, in addition,

$460 in costs from the Complaint filing fee and for service on

Defendant.    (See id.)    The Court finds these fees and costs well

documented, reasonable, and necessarily incurred in prosecuting

Plaintiff’s rights under the FDCPA, and will award fees and

costs in the requested amount of $1,320.         See Buskirk, 2016 WL

796889, at *3 (awarding a reasonable attorneys’ fee of over

$7,500 for comparable work).

      11.   Conclusion.    For all of these reasons, Plaintiff’s

motion for default judgment will be granted, and the Court will

enter a Default Judgment against Defendant and in favor of

Plaintiff in the amount of $2,320, consisting of $1,000 in

statutory damages under the FDCPA, reasonable attorneys’ fees of

$860, and court and service costs in the amount of $460.

      12.   An accompanying Default Judgment will be entered.




 April 20, 2016                            s/ Jerome B. Simandle
Date                                      JEROME B. SIMANDLE
                                          Chief U.S. District Judge




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